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                        UNITED STATES DISTRICT COURT
                                    for the
                          DISTRICT OF RHODE ISLAND


GREG DUHAMEL and
THOMAS DUBOIS

       v.                                              C.A.No.: 21-cv-

LISA BALDELLI-HUNT
      Mayor of Woonsocket
   and
LAURIE PERRY
      City Treasurer of Woonsocket


                                VERIFIED COMPLAINT

                                        Introduction


1.     Defendant Woonsocket Mayor Lisa Baldelli-Hunt (“Mayor Baldelli-Hunt” or
“Defendant”) uses the @LISABALDELLIHUNT Facebook page for official purpose—
including to share information with constituents and solicit their views about government
policy—but she has blocked and restricted access of constituents because they have
inquired and/or criticized her or her policies. This practice is unconstitutional.


2.     The Plaintiffs were blocked from interacting with the @LISABALDELLIHUNT
Facebook page after questioning and/or criticizing Mayor Baldelli-Hunt and her policies.
Mayor Baldelli-Hunt’s blocking/banning of the Plaintiffs from the account based on
viewpoint violates the Plaintiffs’ right to speak in a public forum as well as their right to
petition the government for redress of grievances.

3.     Plaintiffs respectfully request this Honorable Court declare the Defendant’s
blocking of the Plaintiffs violates the First Amendment of the United States Constitution


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and order Defendant to unblock/unban Plaintiffs from interacting with the
@LISABALDELLIHUNT page, order Defendant to unblock/unban all other individuals
who were blocked from the account based on their viewpoints, and order other relief as
requested below.

                                   Jurisdiction and Venue


4.     This action arises under 42 U.S.C. § 1983 for violations of civil rights under the First
and Fourteenth Amendments to the United States Constitution.

5.     The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.

6.     Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202.

7.     Venue is proper in this Court under 28 U.S.C. § 1391 (b)(1) and (b)(2) because
Defendant resides in this District and a substantial part of the events giving rise to this
claim occurred in this District.

                                            Parties


8.     Plaintiff Greg Duhamel resides in Woonsocket and operates the Facebook account
“Greg Duhamel” otherwise identified by GregTheCemetaryGuy401.

9.     Plaintiff Thomas Dubois resides in Woonsocket and operates the Facebook account
“Thomas Dubois” otherwise identified by thomas.dubois.90813.

10.    Defendant Lisa Baldelli-Hunt is Mayor of Woonsocket and is sued in her official
capacity. Mayor Baldelli-Hunt operates the @LISABALDELLIHUNT Facebook page and
has blocked the Plaintiffs from interacting with this account.

11.    Defendant Laurie Perry is the Woonsocket City Treasurer and is named in her
official capacity.


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                                           Facts

A.     Facebook

12.    Facebook is a social media platform with more than 2.85 billion active users
worldwide, including some 190 million in the United States. The platform allows users to
publish messages, publish media, share what other users publish, and interact with
published messages and other users. Speech published on Facebook covers a wide range
and variety of topics, but particularly relevant here is that a significant amount of speech
posted on the platform is speech by, to, or about the government.


13.    A Facebook “user” is an individual who has created an account on the platform. A
user can publish text, media, links, or any combination of the three through the user's
“profile” onto their “timeline”. A user can also post in “groups” or onto “pages”. Some
Facebook users do not post at all. Others post hundreds of times a day.

14.    A Facebook user’s profile is the single website associated with the user. This profile
contains a “timeline” which may or may not contain posts. The profile also may contain
information about the user. Users can add one another as “friends” through their profiles.

15.    A Facebook page is similar to a profile, but is differentiated by its ownership,
content, and interaction capabilities. While a user can register only a single profile per
account they maintain, multiple pages can be created and operated by a single user.
Additionally, pages can be operated collaboratively by multiple users with varying levels
of access. A user cannot request to be friends with a page, but rather can “like” or “follow”
the page. Below is a screenshot of the @LISABALDELLIHUNT page:




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16.    A timeline is the display of posts generated by either a profile or a page, with the
most recent posts appearing at the top of the timeline. When a user posts generally, in this
instance meaning not into a group, whether through their profile or a page to which they
have access, the post automatically appears on the corresponding timeline. Below is a
screenshot of part of the timeline associated with the @LISABALDELLIHUNT page:




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17.      A Facebook user can be friends with other users, which can provide greater access
to information if the user they friend has a private or partially restricted account. Users can
also follow both profiles and pages to get updates in their “feed” whenever the profile/page
posts.

18.      A Facebook user can interact with posts from profiles and pages either by sharing,
commenting on, or reacting to the post. Sharing a post allows a user to republish a post into
their own timeline and allows the user to add their own text on top of the republished post.
Commenting on a post allows a user to respond to it with text, media, or a link and
comments can be published as a reply to the original post or another comment on that post.
Reacting to the post allows a user to respond with typically one of 7 emojis. Reactions
include the like reaction and took the place of Facebook’s original like feature. The
reactions express a range of emotions and appear like this:




19.      By default, Facebook profiles and their associated timelines are visible to the public,
even those without a Facebook account. However, non-users cannot interact with posts.
Additionally, Facebook users can restrict visibility of portions of their profile through their
privacy settings.

20.      When commenting in response to a comment, a Facebook user’s comment will
appear nested below the comment it is in response to. All comments will be nested under
the comment they are replying to creating a comment thread. However, users can tag others
by their profile or page name in their comment and this will act as a reply without creating



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a nested comment thread. Both replying and commenting while tagging a user will send
them a notification.

21.    Posts, comments, reactions, and shares are controlled by the user who generates
them. No other Facebook user can alter the content of any post, comment, or reaction,
either before or after it is posted. Facebook users cannot prescreen posts, comments,
reactions, or shares that reference their posts or accounts.

22.    A Facebook user can block another user which restricts them from writing on their
timeline, tagging them in comments or posts, sending them an invite, or trying to friend
them. It also restricts the visibility of content from one user to another. Facebook users can
only block pages and profiles from their own profile, therefore pages cannot block users
regardless of their operator’s profile’s blockings or settings.

23.    A Facebook user operating a page can ban another user from that page. While this
does not restrict the banned user from viewing the page and its content, it fully restricts the
user from interacting with the page. A fully banned user cannot react to posts, react to
comments, comment on posts, or comment in reply to other comments. The banned user is
essentially fully barred from interacting or engaging with any content on the page or any
content replying to the page and is unable to participate in any discourse held on the page.


B.     @LISABALDELLIHUNT Facebook Page


24.    Defendant established the @LISABALDELLIHUNT Facebook Page on August 10,
2018. She has been an elected official at all times since the opening of the
@LISABALDELLIHUNT Facebook Page, serving as the Mayor of Woonsocket.

25.    The Facebook Page @LISABALDELLIHUNT indicates, in multiple ways, that it
is Mayor Lisa Baldelli-Hunt’s official Facebook Page. The account lists its category as
“government official”.

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26.    The @LISABALDELLIHUNT Facebook Page has more than 2,780 followers, is
accessible to the public at large without regard to any limiting criteria and is still currently
published and visible. Mayor Baldelli-Hunt has not issued any rule or statement purporting
to limit (by form or subject matter) the speech of those who interact with this page. Users
who cannot interact with the @LISABALDELLIHUNT Facebook Page are those she has
banned.

27.    Mayor Baldelli-Hunt uses the @LISABALDELLIHUNT Facebook Page to
announce, describe, and defend her official policies and her office's operations; to comment
on local issues; to share content produced for the City of Woonsocket; and to communicate
with her constituents including responding to their comments. Because of the way she uses
this account, Mayor Baldelli-Hunt’s posts have become an important source of news and
information about her work. Further, the interactions associated with the posts have
become important forums for speech by, to, and about Mayor Baldelli-Hunt.




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28.   Mayor     Baldelli-Hunt    has   posted    hundreds   of   times   from   the
@LISABALDELLIHUNT Facebook Page about matters relating to her official duties. As
example, on March 16, 2020, she posted the following:




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 29.   As further example, on March 19, 2020:




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 30.   As further example, on March 24, 2020:




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 31.   As further example, on March 30, 2020:




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 32.   As further example, on October 14, 2020:




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 33.   As further example, on March 25, 2021:




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 34.   As further example, on April 7, 2021:




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 35.   As further example, on May 28, 2021:




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 36.   There is, in addition to the @LISABALDELLIHUNT page, a profile and account
 under the name Mayor Lisa Baldelli Hunt which has approximately 560 followers. This
 second page only has a single post since 2016, two years prior to the creation of the
 @LISABALDELLIHUNT page. The October 4, 2020 post on the Mayor Lisa Baldelli
 Hunt profile’s timeline does not appear in the timeline of the @LISABALDELLIHUNT
 page. Not a single post from the @LISABALDELLIHUNT page is featured in the timeline
 of the Mayor Lisa Baldelli Hunt profile’s timeline.


 37.   Because     of      the   way   in     which    Mayor        Baldelli-Hunt    uses   the
 @LISABALDELLIHUNT page, the page has become an important source of information
 about the work and policies of the Woonsocket Mayoral Office. The information is relevant
 to the residents of Woonsocket. The @LISABALDELLIHUNT Facebook page is an
 important public forum for discussion and debate about Mayor Baldelli-Hunt’s decisions
 and the policies of her office. The @LISABALDELLIHUNT Facebook page is a kind of
 digital town hall in which Mayor Baldelli-Hunt uses posts and comments to communicate
 city news and information to the public, and members of the public use the comment
 function to respond to Mayor Baldelli-Hunt to inquire about information and exchange
 views with one another.


 C.    Defendant's         Unconstitutional     Blocking       of      Critics      from    the
 @LISABALDELLIHUNT Facebook Page


 38.   Plaintiff Gregory Duhamel Resides in Woonsocket, Rhode Island. He operates the
 Facebook account “Greg Duhamel” otherwise identified by GregTheCemetaryGuy401.


 39.   Before he was blocked, Mr. Duhamel regularly viewed and interacted with the
 @LISABALDELLIHUNT Facebook page to stay informed about issues that Mayor
 Baldelli Hunt addresses.



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 40.    Mayor Baldelli-Hunt banned Mr. Duhamel from the @LISABALDELLIHUNT
 Facebook page on or about November 1, 2020. Mr. Duhamel commented on a post from
 Mayor Baldelli-Hunt which attempted to claim credit for the building of a skate park. Mr.
 Duhamel’s comment challenged Mayor Baldelli-Hunt’s claim of credit. Mayor Baldelli-
 Hunt    deleted    Mr.    Duhamel’s      comment      and    banned     him     from    the
 @LISABALDELLIHUNT Facebook page. She then responded to his claims and criticized
 his remarks to other users, all while Mr. Duhamel was unable to react, reply, or interact in
 any way.

 41.    The now deleted comment from November 1, 2020:




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 42.   Mayor      Baldelli-Hunt’s     banning     of    Mr.     Duhamel      from      the
 @LISABALDELLIHUNT Facebook page prevents or impedes Mr. Duhamel from
 commenting on, replying to, or interacting with any posts or comments on this page.

 43.   Plaintiff Thomas Dubois resides in Woonsocket, Rhode Island. He operates the
 Facebook account “Thomas Dubois” otherwise identified by thomas.dubois.90813.


 44.   Before he was banned, Mr. Dubois regularly viewed and interacted with the
 @LISABALDELLIHUNT Facebook page to stay informed about issues that Mayor
 Baldelli-Hunt addresses.

 45.   Mr.     Dubois   believes    Mayor    Baldelli-Hunt    banned   him    from     the
 @LISABALDELLIHUNT Facebook page on or about June 25, 2021. In the months
 leading up to this action, on multiple occasions Mr. Dubois would ask questions and make
 comments. On June 25, Mr. Dubois commented on a new post from the
 @LISABALDELLIHUNT Facebook page to say “When does the construction this
 weekend at River Island Park start?” Because of Mr. Dubois’ prior interactions with the
 page, his comment was quickly deleted, and he was promptly banned from the
 @LISABALDELLIHUNT Facebook page.




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 46.   The now deleted comment from June 25, 2021:




 47.   Mayor Baldelli-Hunt’s banning of Mr. Dubois from the @LISABALDELLIHUNT
 Facebook page prevents or impedes Mr. Dubois from commenting on, replying to, or
 interacting with any posts or comments on this page.

                                     Cause of Action

                                         Count I
        Violation of the First and Fourteenth Amendments of the U.S. Constitution
                                    (42 U.S.C. § 1983)

 48.   Plaintiffs restate all previous paragraphs by reference as if stated fully herein.


 49.   Mayor Baldelli-Hunt acted, at all times relative to this complaint, and continues to
 act, under color of state law while maintaining the @LISABALDELLIHUNT Facebook
 page as described above.



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 50.    The majority of Mayor Baldelli-Hunt’s posts and interactions report on official
 actions; provide information about Woonsocket executive functions and actions; and
 inform the public of her own official activities.

 51.    Mayor Baldelli-Hunt, in addition to using the @LISABALDELLIHUNT Facebook
 page as a tool of governance, clothed it in the trappings of her public office.

 52.    Mayor Baldelli-Hunt’s persistent invocation of her position as an elected official
 overwhelms any implicit references one might perceive to any personal use.

 53.    Mayor Baldelli-Hunt’s actions, in banning the plaintiffs, are attributable to the City
 of Woonsocket as the sole intention in taking the action was to suppress speech critical of
 her conduct of official duties or fitness for public office.

 54.    Mayor Baldelli-Hunt’s Facebook page, and specifically the interactive component
 of the @LISABALDELLIHUNT Facebook page including the space where users could
 reply to her and engage with other members of the public who might have been responding
 to her, constitutes a designated public forum.

 55.    Mayor Baldelli-Hunt uses the @LISABALDELLIHUNT Facebook page to interact
 with and communicate information to the public, including her constituents.

 56.    Mayor Baldelli-Hunt did not attempt to limit the @LISABALDELLIHUNT
 Facebook page’s interactive feature to her own speech and controlled access to the
 interactive features of her account, creating a designated public forum.

 57.    Just as public officials may not preclude persons from participating in the public-
 comment portion of a town hall meeting based on their viewpoints, Mayor Baldelli-Hunt
 cannot ban users from the @LISABALDELLIHUNT Facebook page because she dislikes
 their opinions.




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 58.    Mayor Baldelli-Hunt engaged in, and continues to engage in unconstitutional
 behavior as a public official when she, acting under color of state law, was, and is,
 impermissibly motivated by a desire to suppress a particular point of view when she banned
 plaintiffs.

 59.    Defendant's banning of the Individual Plaintiffs from her Facebook page violates
 the First and Fourteenth Amendments because it imposes a viewpoint-based restriction on
 the Individual Plaintiffs' participation in a public forum.

 60.     Defendant's banning of the Individual Plaintiffs from the Facebook page violates
 the First and Fourteenth Amendments because it imposes a viewpoint-based restriction on
 the Individual Plaintiffs' ability to speak and to petition the government for redress of
 grievances.

 61.    The defendant's conduct was reckless or callously indifferent to the federally
 protected rights of the plaintiffs.

 62.    Plaintiffs do not have an adequate remedy at law and equitable relief is necessary to
 fully remedy the defendant’s violations of the plaintiffs’ constitutional rights.

                                       Prayer for Relief
       WHEREFORE, Plaintiffs respectfully request that this Court:

 1.     Declare Defendant's viewpoint-based banning of the Individual Plaintiffs and other
 individuals from Mayor Baldelli-Hunt’s Facebook page to be unconstitutional;

 2.     Enter an injunction requiring Defendant to unban the Individual Plaintiffs from
 Mayor Baldelli-Hunt’s Facebook page, and prohibiting Defendant from banning the
 Individual Plaintiffs or other individuals from the account on the basis of viewpoint;

 3.     An award of nominal damages;




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 4.    Award Plaintiffs their costs, including reasonable attorneys' fees, pursuant to 42
 U.S.C. § 1988; and

 5.    Grant any additional relief as may be just and proper.




                                          Respectfully submitted,
                                          GREG DUHAMEL and
                                          THOMAS DUBOIS
                                          By and through their attorney,

                                          /s/ David S. Cass
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